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                   UNITED STATES DISTRICT COURT
                     WESTERN DISTRICT OF TEXAS
                               WACO DIVISION
                               WACO


JENS H.S. NYGAARD                         §
                                          §
vs.                                       §     NO:   WA:20-CV-00234-ADA
                                          §
FEDERATION INTERNATIONALE DE              §
L'AUTOMOBILE, FORMULA ONE
MANAGEMENT LTD., DELTA TOPCO
LTD., MERCEDES-BENZ GRAND PRIX
LTD., RED BULL TECHNOLOGY LTD.,
RED BULL RACING LTD., FERRARI
S.P.A., SCUDERIA FERRARI S.P.A.,
DALLARA AUTOMOBILI S.P.A.,
DAIMLER AG, LEWIS HAMILTON,
CHARLES LECLERC, FERRARI N.V.,
FORMULA ONE WORLD CHAMPIONSHIP
LTD.

        ORDER RESETTING FINAL PRETRIAL CONFERENCE

      IT IS HEREBY ORDERED that the above entitled and numbered case is reset
                                                                         reset for

FINAL PRETRIAL CONFERENCE by Zoom
                             Zoom on March 29, 2022 at 02:30 PM .



                                    3rd day of March, 2022.




                                              Alan D Albright
                                              UNITED STATES DISTRICT JUDGE
